                        Case 22-60020 Document 70 Filed in TXSB on 05/02/22 Page 1 of 1
 Fill in this information to identify the case:

              ,:+HDOWK//&
 Debtor name __________________________________________________________________

                                          6RXWKHUQ
 United States Bankruptcy Court for the:_______________________              7H[DV
                                                                District of ________
                                                                                (State)
 Case number (If known):     
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                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       ;
          Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

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Official Form 206H                                               Schedule H: Codebtors                                                                    
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